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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                                :   CONSOLIDATED UNDER
JEAN KILGORE, Executrix of the                  :   MDL 875
Estate of VICTOR B. KILGORE,                    :
Deceased, and Widow in her Own Right,           :   Transferred from:
                                                :    Court of Common Pleas, Philadelphia
                        Plaintiffs,             :    County
                                                :    Docket No.: 1306-00881
vs.                                             :
                                                :    E.D. CIVIL ACTION NO.
CERTAINTEED CORPORATION, et                     :    13-cv-4029-ER
al.,                                            :
                                                :
                         Defendants.            :


              DEFENDANT CERTAINTEED CORPORATION’S REPLY BRIEF
               IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT


       Defendant CertainTeed Corporation (“CertainTeed”) respectfully submits this Reply

Brief in Support of its Motion for Summary Judgment.

       As demonstrated by CertainTeed in its original moving papers, plaintiff has adduced no

factual evidence to support her contention that Victor Kilgore ever worked with or was around

an asbestos-containing product distributed or supplied by CertainTeed or that, even if he were

around such a product, exposure to asbestos from that product occurred with sufficient frequency

to have been a cause of his disease. Plaintiff’s opposition utterly fails to remedy either

deficiency. Mr. Kilgore’s testimony and the relevant facts of this case remain unchanged and

undisputed:

       ‐     Mr. Kilgore recalled using three-tab asphalt shingles at some point in his career at

             Aberdeen Proving Ground in Aberdeen, Maryland between 1962 and 1988;

       ‐     He understood those shingles were manufactured by CertainTeed;
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       ‐     He was unable to recall when during that 26-year period he might have encountered

             CertainTeed roofing shingles, or on how many occasions that may have occurred;

       ‐     He testified that he did not know whether any of the CertainTeed shingles he recalled

             contained asbestos.

       ‐     As set forth in the affidavit of Charles Blakinger supporting CertainTeed’s original

             moving papers, except for a short time in 1973 and 1974, all of the three-tab asphalt

             roofing shingles CertainTeed manufactured or sold were non-asbestos products;

       ‐     During the 1973 to 1974 period, the asbestos-containing three-tab asphalt shingles

             were manufactured at plants that did not serve the Maryland market, and

       ‐     Even during the 1973 to 1974 period, the vast majority of three-tab asphalt shingles

             manufactured by CertainTeed did not contain asbestos.

       Jurisdictions around the country recognize the principle that “[w]hen the record reveals

that a defendant manufactured both asbestos-containing and non asbestos-containing versions of

a product during the time period of alleged exposure, in the absence of evidence directly or

circumstantially linking the plaintiff to the asbestos-containing product, the Court cannot draw

the inference of exposure and summary judgment on product nexus must be granted.” Stigliano

v. Westinghouse, No. 05C-06-263, 2006 WL 3026171, at *1 (Del. Super. Oct. 18, 2006); see also

Tarzia v. American Standard, 952 A.2d 1170, 1174 (Pa. Super. Ct. 2008); Timmons v. Bondex

International, Inc., No. 06C-10-108, 2008 WL 2690313, at *1 (Del. Super. May 15, 2008);

Adamson v. Gen. Elec. Co., 694 S.E.2d 363, 369-70 (Ga. Ct. App. 2010). This Court should not

hesitate to do the same thing.

       Plaintiff’s Response does nothing more than invite the Court to fill in the gaps in the

evidence with sheer speculation, and in so doing relies on mischaracterizations of the record.



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Ignoring Mr. Kilgore’s inability to say whether any CertainTeed shingles he might have worked

with contained asbestos, plaintiff turns instead to an excerpt of discovery responses from

CertainTeed from an unrelated case, demonstrating nothing more than what was established in

the Blakinger affidavit: that CertainTeed made a limited number of asbestos-containing asphalt

shingles during an exceedingly small portion of Mr. Kilgore’s career. However, during that

same period, the vast majority of CertainTeed’s asphalt shingles did not contain asbestos.

       Plaintiff’s arguments regarding exposure and causation are not saved by her citation to

Burton v Johns Manville, 613 F. Supp. 91, 93 (W.D. Pa. 1988). In that case, plaintiff – in the

absence of testimony from a percipient witness regarding the identities of the products he used –

supported his allegations that he frequently used brake linings manufactured by the defendant by

presenting evidence at trial that defendant had supplied 98% of brake linings used at the facility

where plaintiff worked. The instant case presents an almost diametrically opposite factual record

to that in Burton: Mr. Kilgore testified that he worked with and around “many different brands”

of roofing shingles – so many, in fact, that he could not recall all of the names. (Exhibit A at

96:2-14; 186:16-20.)

       Finally, plaintiff attempts to avoid summary judgment by, in effect, changing the

standard governing proof of causation in this case by invoking Maryland law. However, the

decision Plaintiff cites, Dixon v. Ford, confirms that Maryland adheres to the same “frequency,

regularity and proximity” approach to exposure employed in Pennsylvania. 433 Md. 137, 150-

51, 70 A.3d 328, 335-36 (2013) (citing Scapa v. Saville, 418 Md. 496, 503, 16 A.3d 159, 163

(2011)). In fact, the Dixon court also noted that, under Maryland law,

       in determining whether the conduct qualifies as a substantial factor, the court
       must consider, among other things, the nature of the product, the frequency of its
       use, the proximity, in distance and time, of a plaintiff to the use of the product,
       and the regularity of the exposure of that plaintiff to the use of the product.

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Id. at 150, 70 A.3d at 335 (citing Eagle-Picher v. Balbos, 326 Md. 179, 210, 604 A.2d 445, 460

(1992)); see also Braxton v. ACandS, Inc., MDL 875, Civ. No. 93-03466 (E.D. Pa. Dec. 9, 2010)

(applying frequency, regularity and proximity test in granting defendant’s motion for summary

judgment). Plaintiff fails to explain how this standard differs from Pennsylvania’s. Moreover,

Dixon nowhere suggests that a jury in a Maryland asbestos case might properly conclude that a

defendant was the cause of a plaintiff’s injury where – as here – plaintiff has not come forward

with a shred of evidence that the CertainTeed product Mr. Kilgore allegedly encountered even

contained asbestos. Plaintiff’s “proof” no more satisfies Maryland’s causation standard than it

does Pennsylvania’s.

       For the foregoing reasons and those in its original motion papers, CertainTeed is entitled

to summary judgment.

                                                     Respectfully submitted,

Dated: November 3, 2014                              WILBRAHAM, LAWLER & BUBA

                                                 By: /s/ Michael J. Block, Esq.___________
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                                                     Philadelphia, PA 19103
                                                     TEL (215) 564-4141
                                                     FAX (215) 564-4385
                                                     EMAIL: mjb@wlbdeflaw.com
                                                     Attorneys for CertainTeed Corporation




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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on November 3, 2014 I electronically filed the foregoing

document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

is being served this day on all counsel of record via transmission of Notices of Electronic Filing

generated by the CM/ECF.




                                          By: /s/ Michael J. Block, Esq.___________
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                                              Attorney for CertainTeed Corporation
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          EXHIBIT A
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                  IN THE COURT OF COMMON PLEAS
            OF PHILADELPHIA COUNTY, PENNSYLVANIA
                          - - -
     VICTOR B. KILGORE &    : JUNE TERM, 2013
     JEAN KILGORE, h/w      :
           Plaintiffs       :
                            :
             vs.            :
                            :
     ALLEN-BRADLEY COMPANY, :
     et al                  :
           Defendants       : NO. 0881
                          - - -
                  Friday, June 28, 2013
                          - - -
                  Videotape Deposition of VICTOR B.
     KILGORE, taken at Marriott City Center, 500
     Fayetteville Street, Raleigh, North Carolina,
     commencing at 10:00 a.m., before Janice L.
     Welsh, Court Reporter and Notary Public; in
     and for the Commonwealth of Pennsylvania.
                         * * *




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                                                         Page 94                                                               Page 96
 1               VICTOR B. KILGORE                                     1               VICTOR B. KILGORE
 2     the roof coating. It just wears out. It just                    2     Q. And you also talked about you used a lot
 3     disappears.                                                     3     of different manufacturer's products because
 4     Q. Just so we're clear, though, you don't                       4     the government was trying to spread around
 5     recall ever removing any Georgia Pacific roof                   5     their sales; is that correct?
 6     coating at Aberdeen?                                            6     A. That's correct.
 7     A. No.                                                          7     Q. If I went through some different
 8              MS. LOMBARDO: Those are all the                        8     manufacturer's names, do you think that might
 9     questions I have for you. Thank you very                        9     help you recall some of the shingle
10     much.                                                          10     manufacturers?
11              VIDEOTAPE OPERATOR: The time is                       11     A. Well, I know there was a lot of
12     11:43 a.m. We're off the record.                               12     manufacturers. If you gave me a name that
13                     ---                                            13     sounds familiar -- but I couldn't put it on a
14              (Whereupon a short recess was                         14     product.
15     taken.)                                                        15     Q. Do you recall the name Johns-Manville
16                     ---                                            16     for shingles?
17              VIDEOTAPE OPERATOR: The time is                       17     A. I know they made shingles.
18     11:43 a.m. We're back on the record.                           18     Q. Do you know if they were used at
19                     ---                                            19     Aberdeen Proving Ground?
20                   EXAMINATION                                      20     A. I couldn't swear to it.
21                     ---                                            21     Q. Are you familiar with the name Philip
22     BY MS. ABRAHAM:                                                22     Carey for shingles?
23     Q. Hello, sir. My name is Anisha Abraham.                      23     A. That don't ring a bell.
24     We spoke a little bit yesterday. Are you okay                  24     Q. How about the name Celotex?
25     to continue?                                                   25     A. My experience with Celotex, Celotex was
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                                                         Page 95                                                               Page 97
 1               VICTOR B. KILGORE                                     1               VICTOR B. KILGORE
 2     A. Yes.                                                         2     a fiberboard.
 3     Q. I just have a couple of follow-up                            3     Q. How about for Flintkote? Do you
 4     questions to ask you just so the record is                      4     associate them with shingles?
 5     clear. When you had talked about working on                     5     A. Who?
 6     roofs, you had been talking about testimony                     6     Q. Flintkote.
 7     generally where you said you worked on roofs                    7     A. No. I don't recall that name.
 8     throughout your career, but you can't recall a                  8     Q. How about Owens-Corning shingles?
 9     specific instance of using CertainTeed on a                     9     A. That's a familiar name.
10     certain date throughout that time period,                      10     Q. How about GAF?
11     correct?                                                       11     A. Possibly, but I couldn't put my finger
12     A. Correct.                                                    12     on it.
13     Q. And you couldn't recall any locations                       13     Q. And the name Ruberoid, do you associate
14     where you had actually applied the CertainTeed                 14     that with shingles?
15     three-tabbed asphalt roof shingles at the                      15     A. I know they made shingles.
16     location at Aberdeen, correct?                                 16     Q. Earlier when we had described the
17     A. Correct.                                                    17     different shingles, you said once again you
18     Q. When you had talked about the different                     18     would not be able to tell the manufacturer of
19     products -- when you were applying first you                   19     any shingle that you might have removed from a
20     would have to prep the roof so you would                       20     roof, correct?
21     remove products, you wouldn't be able to tell                  21     A. Correct.
22     the manufacturer of any of those products, say                 22             MS. ABRAHAM: I'm going to review
23     the shingles, that you removed from that roof,                 23     my notes, but I think that's all the questions
24     correct?                                                       24     I have at this time. Thank you.
25     A. That's right.                                               25             MR. PAUL: Anybody else on the
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                   IN THE COURT OF COMMON PLEAS
            OF PHILADELPHIA COUNTY, PENNSYLVANIA
                           - - -
     VICTOR B. KILGORE &     : JUNE TERM, 2013
     JEAN KILGORE, h/w       :
           Plaintiffs        :
                             :
             vs.             :
                             :
     ALLEN-BRADLEY COMPANY, :
     et al                   :
           Defendants        : NO. 0881
                           - - -
                   Wednesday, June 26, 2013
                           - - -
                   Videotape Doscovery Deposition of
     VICTOR B. KILGORE, taken at Marriott City
     Center, 500 Fayetteville Street, Raleigh,
     North Carolina, commencing at 10:00 a.m.,
     before Janice L. Welsh, Court Reporter and
     Notary Public; in and for the Commonwealth of
     Pennsylvania.
                          * * *




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                                                       Page 186                                                              Page 188
 1                VICTOR B. KILGORE                                    1               VICTOR B. KILGORE
 2     with or around in the carpentry unit was                        2     naturally you would get that off of it.
 3     sheetrock.                                                      3     Q I think that's all the products you
 4     A Yes.                                                          4     mentioned that you worked with or around as
 5     Q Do you remember the trade name or                             5     part of the carpentry unit. Do you believe
 6     manufacturer of the sheetrock that was used at                  6     that you worked around any other trades that
 7     Aberdeen?                                                       7     were using asbestos-containing materials?
 8     A No.                                                           8     A Well, during the later part when
 9     Q You also mentioned working with or                            9     asbestos became a problem, if the plumbers or
10     around some roofing material. Two types of                     10     somebody was -- or heating people were going
11     material, the hot tar and the three by one                     11     to tear out pipes and asbestos, we would go in
12     shingles. The hot tar, do you remember the                     12     and frame the area up with two-by-fours and
13     manufacturer or brand name of the hot tar                      13     cover it with plastic so it wouldn't escape
14     material?                                                      14     and go all over the building. But then we had
15     A No.                                                          15     to go back and disassemble that after it was
16     Q Do you remember the manufacturer or                          16     all done.
17     brand name of the three in one shingles that                   17     Q I'm glad you brought that up. I'll ask
18     were used at Aberdeen?                                         18     you a couple of questions about this. What
19     A Actually no, because they used many                          19     you just testified to, is it fair to say that
20     different brands                                               20     you would set up the area before others would
21              MR. PAUL: Do you remember any?                        21     actually remove any asbestos?
22              THE WITNESS: You can mention                          22     A Right.
23     famous brands and I could say, yeah, we used                   23     Q You said later when asbestos became a
24     that, but I can't picture it.                                  24     problem. When was it that this started to
25     BY MS. SCHWEIZER:                                              25     occur?
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                                                       Page 187                                                              Page 189
 1                VICTOR B. KILGORE                                    1                VICTOR B. KILGORE
 2     Q So, you can't tell me any particular                          2     A I'm going to say somewhere in the later
 3     brands that were used in general at Aberdeen,                   3     70's, but I'm not sure.
 4     correct?                                                        4     Q Did you ever become aware that -- strike
 5     A No. I could say CertainTeed because it                        5     that.
 6     was very popular, but like I say the                            6                 What did you mean by asbestos
 7     government bought every place.                                  7     became a problem?
 8     Q Aside from the name CertainTeed, no                           8     A Well, it's when the lawsuits started, I
 9     other ones come to mind?                                        9     guess. People being, you know, affected with
10     A No.                                                          10     the asbestos and buildings having asbestos in
11     Q The last product you mentioned was                           11     it, like that. Then we become much more
12     spackle.                                                       12     careful after that.
13     A Yes.                                                         13     Q When you were doing your job in building
14     Q Do you know the brand name, trade name,                      14     the four-by-fours and putting the plastic so
15     manufacturer name of any spackle that you                      15     nothing would escape, no one was in that area
16     would work with or around at Aberdeen?                         16     doing any asbestos removal at that time; is
17     A No. I do know the first spackle I                            17     that correct?
18     worked with was powder and you had to mix it                   18     A No. Not until we finished.
19     up yourself, and then later on they progressed                 19     Q Who was coming in to remove the
20     to ready mix spackle.                                          20     asbestos?
21     Q Just so I understand it, you said the                        21     A Well, it depends whether it would be the
22     first one was a powder where you had to mix                    22     plumbing or the heating. Whoever it might be,
23     it?                                                            23     you know, their job to do it.
24     A Yes. And that would be -- you would get                      24     Q Do you believe these plumbing and
25     a lot of -- because it was a powder and                        25     heating people were employed by Aberdeen like
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